



   Per Curiam.
  


  The question before the court is certainly one in which they ought to use great circumspection. In general, the County courts are infinitely more competent to determine, respecting roads, than we can be. But whenever a case occurs like the present, we are constrained to act. Where a road operates a considerable injury on an individual, and a few individuals only are benefitted, it should not exist. The power of laying off and discontinuing roads, was conferred to answer the public purpose, and not that of individuals. And if not exercised in that way, the County courts ought to be restrained. Before we interfere with a case of this kind however, we ought to be satisfied beyond the possibility of a doubt, that the proceedings of the County court a materially wrong.
 

  Order of the County court reversed.
 
